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                   IN THE UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF MISSISSIPPI


   IN RE: Michael W. Monaghan, Jr., Debtor                     BK NO. 20-12239-JDW
                                                               CHAPTER 7 CASE

          DEBTOR’S RESPONSE TO MOTION TO GRANT RELIEF FROM
                AUTOMATIC STAY AND FOR OTHER RELIEF

          COMES NOW, Debtor, Michael W. Monaghan, Jr., by and through his attorney,

   James W. Amos, and by way of response to the motion to grant relief from automatic stay

   and for other relief filed by Carrington Mortgage Services, LLC, would say as follows:

          1. Debtor admits the allegations contained in paragraph 1 of the motion.

          2. Debtor admits the allegations contained in paragraph 2 of the motion.

          3. Debtor admits the allegations contained in paragraph 3 of the motion.

          4. Debtor denies the allegations contained in paragraph 4 of the motion.

          5. Debtor denies the allegations contained in paragraph 5 of the motion.

          NOW, having fully responded to the motion of Carrington Mortgage Services,

   LLC to grant relief from automatic stay and for other filed in the above referenced case,

   the Debtor prays that the motion be denied.

                                                        Respectfully submitted,

                                                        /s/ James W. Amos___________
                                                        JAMES W. AMOS MSB #1559
                                                        ATTORNEY FOR DEBTOR
                                                        2430 CAFFEY ST.
                                                        HERNANDO, MS 38632
                                                        PHONE # (662) 429-7873
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                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on the 14th day of February, 2023, a copy of the

   foregoing electronically filed Response was served on the parties listed below by first-

   class mail, postage-prepaid, unless said party is a registered CM/ECF participant who has

   consented to electronic notice, and the Notice of Electronic Filing indicates that Notice

   was electronically mailed to said party.

   Jeffrey A. Livingston
   Chapter 7 Trustee
   levin@bellsouth.net

   Office of the US Trustee
   USTPRegion05.AB.ECF@usdoj.gov

   Michael W. Monaghan
   4081 Jordan Creek Drive
   Hernando, MS 38632

   Carrington Mortgage Services, LLC
   c/o Eric Miller, Esq.
   logsecf@logs.com

          Dated this 14th day of February, 2023.

                                                        /s/ James W. Amos
                                                        JAMES W. AMOS
